                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:12-00159
                                                    )       JUDGE CAMPBELL
CHAD EDWARD WARRICK, et al.                         )

                                             ORDER

         Due to a criminal trial, the change of plea hearing and/or pretrial conference currently

scheduled for October 18, 2013, is CONTINUED to October 25, 2013, at 4:30 p.m.

         All deadlines remain unchanged.

         It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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